  Case 20-04205              Doc 31         Filed 05/14/20 Entered 05/14/20 10:47:23                                  Desc Main
                                               Document Page 1 of 1
       UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RE: NEIL S BICKEL                                                 ) Case No. 20 B 04205
                                                                  )
                                                        Debtor    ) Chapter 13
                                                                  )
                                                                  ) Judge: CAROL A DOYLE

                                                     NOTICE OF MOTION

    NEIL S BICKEL                                                                  CUTLER & ASSOC
                                                                                   via Clerk's ECF noticing procedures
    1028 OAK RIDGE DR
    STREAMWOOD, IL 60107

    Please take notice that on June 09, 2020 at 10:30 am my designee or I will appear before the Honorable
    Judge CAROL A DOYLE at 219 South Dearborn Courtroom 742, Chicago, IL and present the motion set
    forth below.

    I certify under penalty of perjury that this office caused a copy of this notice to be delivered to the persons
    named above by U.S. mail at 55 E Monroe St., Chicago, Il 60603 or by the methods indicated on May 14,
    2020.

                                                                                     /s/ Tom Vaughn

                           TRUSTEE'S MOTION TO DISMISS FOR UNREASONABLE DELAY

    Now comes Tom Vaughn, Trustee in the above entitled case and moves the Court to dismiss this case in
    support thereof states:

    1. On February 14, 2020 the Debtor filed a petition and plan under Chapter 13 of Title 11 U.S.C.

    2. That the above-captioned plan has not yet been confirmed.


    3. That the Debtor has caused unreasonable delay that is prejudicial to creditors by failing to:

    341 meeting not adjourned.




    WHEREFORE, the Trustee prays that this case be dismissed for unreasonable delay by the debtor pursuant
    to 11 U.S.C. § 1307 (c) (1).
                                                                                            Respectfully submitted,
                                                                                            /s/ Tom Vaughn
    TOM VAUGHN
    CHAPTER 13 TRUSTEE
    55 E. Monroe Street, Suite 3850
    Chicago, IL 60603
    (312) 294-5900
